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                                                           Virgil Griffith
                                                       8
                                                       9
                                                      10
                                                                               IN THE UNITED STATES DISTRICT COURT
                                                      11                           FOR THE DISTRICT OF ARIZONA
                                                      12
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                                                      13   True Names, Ltd. d/b/a Ethereum Name                Case No. ___
                                                           Service, a Singapore corporation, and Virgil
                         A T T O RN E Y S A T L A W




                                                      14   Griffith, an individual.
                                                      15                     Plaintiffs,                      PLAINTIFF’S EX PARTE MOTION
                                                           v.                                                 FOR TEMPORARY RESTRAINING
                                                      16                                                      ORDER AND ORDER TO SHOW
                                                           GoDaddy, Inc., a Delaware corporation;             CAUSE FOR PRELIMINARY
                                                      17   GoDaddy.com LLC, a Delaware                        INJUNCTION
                                                           corporation; Dynadot LLC, a California
                                                      18   corporation; and Manifold Finance, Inc., a
                                                           Delaware corporation.
                                                      19
                                                                             Defendants.
                                                      20
                                                      21
                                                      22           Plaintiffs True Names, Ltd. d/b/a Ethereum Name Service (“TNL”) and Virgil
                                                      23   Griffith (collectively “Plaintiffs”) respectfully move this Court pursuant to Fed. R. Civ.
                                                      24   P. 65 and Local Rule 65.1 for:
                                                      25           (1) a temporary restraining order enjoining Defendants GoDaddy, Inc. and
                                                      26   GoDaddy.com LLC (collectively “GoDaddy”), its officers, agents, directors, affiliates,
                                                      27   servants, employees, and all persons acting in concert with it, from directly or indirectly
                                                      28
                                                                                                          1
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                                                       1   causing the expiration of the eth[.]link domain name (the “Domain”) or allowing the
                                                       2   Domain to revert to the registry to be generally available for purchase by third parties;
                                                       3          (2) a temporary restraining order enjoining Defendants GoDaddy from preventing
                                                       4   or frustrating Plaintiffs’ right, pursuant to the Domain Name Registration Agreement
                                                       5   with GoDaddy, to renew the registration of the Domain;
                                                       6          (3) a temporary restraining order enjoining Defendants GoDaddy, Dynadot LLC,
                                                       7   and Manifold Finance, Inc. (collectively “Defendants”), their officers, agents, directors,
                                                       8   affiliates, servants, employees, and all persons acting in concert with them from selling
                                                       9   or otherwise transferring ownership interest in the Domain to any party, or purchasing or
                                                      10   accepting ownership interest in the Domain; and
                                                      11          (4) an order to show cause why a preliminary injunction should not issue, pursuant
                                                      12   to Fed. R. Civ. P. 65, enjoining Defendants from directly or indirectly committing the
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                                                      13   above-described acts during the pendency of this action.
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                                                      14                                FACTUAL BACKGROUND
                                                      15          A.     Plaintiffs’ Domain Registration.
                                                      16          Launched in 2017, TNL provides the software for the Ethereum Name Service,
                                                      17   which is a decentralized, open-source domain name system that revolutionized the
                                                      18   cryptocurrency market by allowing users to trade currency using short-form, human-
                                                      19   readable language instead of the long strings of alphanumeric characters typically
                                                      20   associated with cryptocurrency wallets, making it easier and more accessible to exchange
                                                      21   cryptocurrencies. (Declaration of Khori Whittaker (“Whittaker Decl.”) ¶ 3) Important to
                                                      22   the operation of ENS is the eth[.]link domain name, which acts as a gateway between the
                                                      23   traditional Domain Name System (DNS), which matches IP addresses with website
                                                      24   domain names, and the ENS system. (Id. ¶ 4) Today, over 2 million ENS names have
                                                      25   been registered worldwide, all of which can rely on the eth[.]link domain. (Id. ¶ 5)
                                                      26          The software for the ENS system is owned by Plaintiff TNL. (Id. ¶ 3). TNL makes
                                                      27   money through a small yearly fee of $5 that persons or entities registered to participate
                                                      28   in the ENS system pay. (Id. ¶ 6) Plaintiff TNL is also the beneficial registrant of the
                                                                                                         2
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                                                       1   eth[.]link domain name and Plaintiff Griffith is the registrant. (Id. ¶¶ 8-11) In 2018,
                                                       2   Plaintiff Griffith registered eth[.]link for and on behalf of TNL through a company called
                                                       3   Uniregistry. (Id.) In 2020, Defendant GoDaddy acquired Uniregistry. (Id. ¶ 9)
                                                       4          Both the Uniregistry agreement and GoDaddy agreement provide for automatic
                                                       5   renewal of the eth[.]link domain. (Declaration of Alexander Urbelis (“Urbelis Decl.”) ¶¶
                                                       6   12 (Ex. A, ¶ 2.12), 14 (Ex. B, ¶ 3(b))). Further, TNL has the right to manually renew the
                                                       7   eth[.]link domain registration pursuant to the parties’ Domain Name Registration
                                                       8   Agreement. (Id.)
                                                       9          B.     Defendants Provide Inconsistent Information Regarding the Domain
                                                                         Registration Status, and Refuse to Communicate with Plaintiffs.
                                                      10
                                                                  On July 31, 2022, Plaintiff Griffith received a notification of the registration’s
                                                      11
                                                           expiration—but the same notice informed him that he could renew the registration. (Id.
                                                      12
                                                           ¶ 8, Ex. G). However, as of August 3, 2022, the Whois data reflected that the domain was
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                                                      13
                                                           re-registered for another year, to July 26, 2023. (Id. ¶ 19 (Ex. C)). As the registrar of
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                                                      14
                                                           record, only GoDaddy could have caused the expiration date to reflect that the domain
                                                      15
                                                           was re-registered for another year, to July 26, 2023. (Id. ¶ 20).
                                                      16
                                                                  In order to understand the status of the domain registration, counsel for Plaintiffs
                                                      17
                                                           wrote two emails to Defendant GoDaddy on August 3, 2022. (Id. ¶¶ 3-4 (Ex. 4). But he
                                                      18
                                                           received no response. (Id. ¶ 7)
                                                      19
                                                                  On August 25, 2022, GoDaddy announced in a public statement that the eth[.]link
                                                      20
                                                           domain name had “expired” on July 26, 2022, and was “currently progressing through
                                                      21
                                                           the standard expiry lifecycle.” (Whittaker Decl. ¶ 12 (Ex. E)) GoDaddy’s bare-bones
                                                      22
                                                           announcement further noted that the eth[.]link domain was “expected to return to the
                                                      23
                                                           registry” on September 5, 2022—that is, be available for purchase by the general
                                                      24
                                                           public—“absent a renewal by the current registrant.” (Id.)
                                                      25
                                                                  GoDaddy failed to offer any basis or rationale for its sudden about-face, or for its
                                                      26
                                                           failure to automatically renew the eth[.]link domain consistent with the parties’
                                                      27
                                                           Agreement and its practice in prior years. By arbitrarily allowing the eth[.]link domain
                                                      28
                                                                                                         3
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                                                       1   to expire and returning it to the registry for potential purchase by the general public, not
                                                       2   only does GoDaddy interfere with TNL’s rights and interests in the domain name and its
                                                       3   continuing business operations, but further risks opening up the ENS system to potential
                                                       4   infiltration by malicious third parties who might seek to access to and exploit the sensitive
                                                       5   personal and financial data of the network’s million-plus members. (Id. ¶¶ 16-19)
                                                       6          C.      Plaintiffs Seek to Renew Their Registration.
                                                       7          Upon learning of GoDaddy’s announcement, representatives for TNL and Griffith
                                                       8   contacted GoDaddy to seek clarification about the supposed expiration of the eth[.]link
                                                       9   domain and to attempt to renew the current registration, consistent with GoDaddy’s
                                                      10   announcement. (Urbelis Decl. ¶ 6 (Ex. F)) To date, however, GoDaddy has failed to
                                                      11   respond. (Urbelis Decl. ¶ 7) GoDaddy’s refusal to even respond to any of Plaintiffs’
                                                      12   requests, much less to provide information about why and how the domain suddenly
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                                                      13   expired, has frustrated Plaintiffs’ efforts to manually renew the eth[.]link domain. (Id.)
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                                                      14          D.      Defendant Sell and Purchase the Registration Before their Own
                                                                          September 5, 2022 Deadline.
                                                      15
                                                                  Then, on September 3, 2022, notwithstanding its own public announcement that
                                                      16
                                                           the domain name would be returned to the registry on September 5, 2022, GoDaddy
                                                      17
                                                           purportedly sold the eth[.]link domain to Dynadot LLC, an online auction holder.
                                                      18
                                                           (Whittaker Decl. ¶¶ 14-15) On the same day, Dynadot conduct a sale-via-auction and
                                                      19
                                                           supposedly resold the eth[.]link domain to Manifold Finance, Inc. (Id. ¶¶ 12-13).
                                                      20
                                                           Manifold Finance announced on September 3, 2022, on its Twitter handle @foldfinance
                                                      21
                                                           that it had secured the registration rights to the eth[.]link domain. (Id.) In order for this to
                                                      22
                                                           have occurred, GoDaddy would have had to impermissibly transfer the eth[.]link domain
                                                      23
                                                           to Dynadot before September 5, 2022. (Id. ¶ 14)
                                                      24
                                                                  By refusing the automatically renew the eth[.]link domain name and instead
                                                      25
                                                           permitting it to expire without basis or prior warning, and by refusing to allow
                                                      26
                                                           representatives for TNL to manually renew the registration, GoDaddy has breached the
                                                      27
                                                           parties’ domain name registration agreement.
                                                      28
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                                                       1          Further, GoDaddy’s refusal to even respond to TNL, much less the steps it has
                                                       2   taken to actively conceal its conduct and frustrate TNL’s ability to manually renew the
                                                       3   registration that TNL has a right to renew, constitute a breach of the duty of good faith
                                                       4   and fair dealing. Finally, by interfering with and disrupting TNL’s relationships with
                                                       5   millions of users who rely on its ENS system and eth[.]link domain name for secure
                                                       6   cryptocurrency transactions, and by placing the eth[.]link domain up for auction and
                                                       7   purporting to sell and transfer it to multiple third parties, all Defendants have intentionally
                                                       8   interfered with TNL’s prospective economic advantage and engaged in unfair and
                                                       9   anticompetitive business practices, which could result in substantial economic and
                                                      10   reputational damage to Plaintiffs.
                                                      11          E.      Plaintiffs Will Be Irreparably Injured.
                                                      12          Without access or rights to the eth[.]link domain name, users of the eth[.]link
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                                                      13   domain will be deprived of its use. (Id. ¶ 16) Plaintiffs will immediately lose customers
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                                                      14   that they cannot regain. (Id. ¶ 17) Furthermore, customers pay Plaintiff TNL $5 a year
                                                      15   for use of the ENS domains. (Id. ¶ 6) Plaintiff TNL will face potential liabilities for those
                                                      16   customers as TNL cannot provide the complete access for which the users paid and
                                                      17   expect. (Id. ¶ 17)
                                                      18          Users that use the eth[.]link domain to prop up their own websites will lose access
                                                      19   to these websites. (Id. ¶ 18). Those who sell products on these websites will lose their
                                                      20   source of income if the domain is lost. (Id.) Others who transact cryptocurrencies with
                                                      21   the domain may have their transactions interrupted—and because these transactions are
                                                      22   on the blockchain, they will not be able to be retrieved, and the value of the transaction
                                                      23   will be lost. (Id. ¶ 19)
                                                      24          Reputationally, eth[.]link is associated with TNL by and through ENS, which is
                                                      25   intimately associated with the eth[.]link domain name. (Id. ¶¶ 20, 22) As a result,
                                                      26   Plaintiffs will not only lose users, but will be severely impeded in gaining new customers,
                                                      27   even were Plaintiffs able to secure an entirely new, but different, domain gateway. (Id.)
                                                      28          Lastly, because the domain registration may be transferred to third parties, there
                                                                                                           5
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                                                       1   is no way to ensure that persons currently using the eth[.]link domain name will be secure
                                                       2   from cyberattack or malicious users. (Id. 21)
                                                       3                                     LEGAL STANDARD
                                                       4          The standard for issuing a temporary restraining order is “substantially identical”
                                                       5   to the standard for issuing a preliminary injunction. Stuhlbarg Int’l Sales Co., Inc. v. John
                                                       6   D. Brush & Co., 240 F.3d 832, 839 n.7 (9th Cir. 2001). However, a TRO’s requirements
                                                       7   are less rigid since a TRO’s duration is much shorter than a preliminary injunction. L.A.
                                                       8   Unified Sch. Dist. v. U.S. Dist. Ct., 650 F.2d 1004, 1008 (9th Cir. 1981).
                                                       9          To obtain a TRO, plaintiff must demonstrate that (1) it is “likely to succeed on the
                                                      10   merits,” (2) it is “likely to suffer irreparable harm in the absence of preliminary relief,”
                                                      11   (3) “the balance of equities” tips in its favor, and (4) an “injunction is in the public
                                                      12   interest.” Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1131 (9th Cir. 2011)
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                                                      13   (quoting Winter v. Nat. Res. Def. Council, 555 U.S. 7, 20 (2008)).
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                                                      14          In certain cases, a TRO may be issued where there are “serious questions going to
                                                      15   the merits” and the hardship balance tips sharply toward the plaintiff, assuming the other
                                                      16   elements are met. Alliance for the Wild Rockies, 632 F.3d at 1132. Serious questions
                                                      17   “need not promise a certainty of success, nor even present a probability of success, but
                                                      18   must involve a fair chance of success on the merits.” Republic of the Philippines v.
                                                      19   Marcos, 862 F.2d 1355, 1362 (9th Cir. 1988) (internal citations omitted).
                                                      20
                                                                  This Court may issue a TRO without notice to Defendants if (1) an affidavit or
                                                      21
                                                           verified complaint demonstrates that Plaintiffs will suffer “immediate and irreparable
                                                      22
                                                           loss, injury, or damage” if an injunction does not issue before the adverse party can be
                                                      23
                                                           heard or (2) “the movant’s attorney certifies in writing any efforts made to give notice
                                                      24
                                                           and the reasons why it should not be required.” Fed. R. Civ. P. 65(b)(1); L.R. Civ. 65.1
                                                      25
                                                           (“Ex parte restraining orders shall only issue in accordance with Rule 65, Federal Rules
                                                      26
                                                           of Civil Procedure.”).
                                                      27
                                                      28
                                                                                                           6
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                                                       1          A district court has broad discretion to issue a TRO. Stuhlbarg Int’l Sales Co. v.
                                                       2   John D. Brush & Co., 240 F.3d 832, 841 n. 8 (9th Cir. 2001).
                                                       3                                          ARGUMENT
                                                       4          This Court’s intervention is necessary to protect TNL’s rights and interests in the
                                                       5   eth[.]link domain and to block Defendant GoDaddy from improperly depriving TNL of
                                                       6   its ability to access and control the eth[.]link domain to which it is a beneficial registrant.
                                                       7   A TRO is further necessary to enjoin the improper and unlawful effort to transfer
                                                       8   ownership in the eth[.]link domain to Defendants Dynadot and Manifold Finance, which
                                                       9   would cause immediate and irreparable harm both to TNL and to the millions of users
                                                      10   who rely on this service for secure cryptocurrency and blockchain transactions, and
                                                      11   potentially open the door to infiltration by malicious actors.
                                                      12
                                                            I.    TRUE NAMES IS LIKELY TO SUCCEED ON THE MERITS OF ITS
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                                                      13          CLAIMS AGAINST DEFENDANTS.
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                                                      14          Plaintiff is entitled to injunctive relief if it shows a likelihood of success on the
                                                      15   merits of any one of its claims. Indeed, Plaintiffs can show that they are likely to prevail
                                                      16   on each of its claims for relief.
                                                      17            A.   Breach of Contract and Breach of Covenant of Good Faith and Fair
                                                      18                 Dealing

                                                      19          Plaintiffs will succeed on their claim again Defendant GoDaddy for breach of

                                                      20   contract and breach of the covenant of good faith and fair dealing. As the evidence and

                                                      21   supporting declarations show, TNL and GoDaddy’s relationship is governed by the

                                                      22   parties’ Domain Name Registration Agreements (Urbelis Decl. ¶¶ 12 (Ex. A), 14 (Ex.

                                                      23   B)) Under the Agreement, the eth[.]link domain name is subject to automatic renewal,

                                                      24   and TNL has the right to manually renew the registration in any event. (Id. ¶¶ 12 (Ex. A

                                                      25   ¶ 12.2); 14 (Ex. B ¶ 3(b)))

                                                      26          Defendant GoDaddy breached the express terms of the Agreement by failing to

                                                      27   automatically renew the domain name’s registration, notwithstanding the express terms

                                                      28   of the Agreement providing for automatic renewal of the registration. (Id.) Plaintiffs will

                                                                                                           7
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                                                       1   succeed on their breach of contract claim. See Varrato v. Specialized Loan Servicing
                                                       2   LLC, No. CV-22-00324-PHX-MTL, 2022 WL 845194 (D. Ariz. Mar. 22, 2022) (granting
                                                       3   TRO where plaintiffs sought to enjoin Defendant from conducting a trustee’s sale on their
                                                       4   home); Highway Techs., Inc. v. Porter, 2009 WL 1835114 (D. Ariz. June 26, 2009).
                                                       5          Furthermore, the Domain Registration Agreements provided for renewal—either
                                                       6   automatically, or manually. (Id.) Indeed, as Exhibit D and F reflect, the GoDaddy
                                                       7   Defendants were called on to renew. (Id. ¶¶ 4 (Ex. D), 5 (Ex. F) Yet, the GoDaddy
                                                       8   Defendants failed and refused to provide the mechanism for renewal. (Id. ¶ 7) This is a
                                                       9   classic instance of a breach of a covenant of good faith and fair dealing. See Rawlings v.
                                                      10   Apodaca, 151 Ariz. 149, 153 (1986) (“The essence of that duty is that neither party will
                                                      11   act to impair the right of the other to receive the benefits which flow from their agreement
                                                      12   or contractual relationship”); Arizona v. Tohono O’odham Nation, 944 F. Supp. 2d 748,
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                                                      13   768 (D. Ariz. 2013) (“The covenant acts to prevent a party from doing something that,
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                                                      14   while not specifically prohibited by a contract, prevents the other party from enjoying
                                                      15   benefits they reasonably expected to flow from the contract.”).
                                                      16            B.   Intentional Interference with Prospective Economic Advantage
                                                      17          Plaintiffs are also likely to prevail on their claim for intentional interference with
                                                      18   prospective economic advantage. In Arizona, a claim for tortious interference with
                                                      19   prospective economic advantage requires: “1. The existence of valid contractual
                                                      20   relationship or business expectancy; 2. knowledge of the relationship or expectancy on
                                                      21   the part of the interferor; 3. intentional interference inducing or causing a breach or
                                                      22   termination of the relationship or expectancy; and 4. resultant damage to the party whose
                                                      23   relationship or expectancy has been disrupted.” Miller v. Servicemaster by Rees, 174
                                                      24   Ariz. 518, 521 (Ct. App. 1992). Historically, Plaintiffs have allowed its users to use the
                                                      25   domain eth.link. (Whittaker Decl. ¶ 6) Defendants know that Plaintiffs have these
                                                      26   relationships and that Plaintiffs renew these relationships on a yearly basis. Despite
                                                      27   knowing this, Defendants refuse to provide a mechanism by which Plaintiffs can renew
                                                      28
                                                                                                          8
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                                                       1   the eth.link domain registration. Unless immediately restrained by the Court, Defendants’
                                                       2   conduct will cause irreparable harm to Plaintiffs, which has no adequate remedy of law.
                                                       3           C.    Unfair Competition
                                                       4          Plaintiffs are also likely to prevail on their claim for unfair competition. The tort
                                                       5   of unfair competition is premised on equitable principles “to prevent business conduct
                                                       6   that is ‘contrary to honest practice in industrial or commercial matters.’” Fairway
                                                       7   Constructors, Inc. v. Ahern, 193 Ariz. 122, 124 (Ct. App. 1998) (quoting Am. Heritage
                                                       8   Life Ins. Co. v. Heritage Life Ins. Co., 494 F.2d 3, 14 (5th Cir. 1974)). The law of unfair
                                                       9   competition prevents “all instances of fraudulent interference with another business.”
                                                      10   Bank of Ariz. v. Ariz. Cent. Bank, 40 Ariz. 320, 325 (1932). In 2018, Plaintiffs entered
                                                      11   into the Agreement with the GoDaddy Defendants regarding the domain eth[.]link.
                                                      12   (Whittaker Decl. ¶ 8) Now, the GoDaddy Defendants have put the domain up for sale
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                                                      13   despite not having a right to sell it. (Id. ¶¶ 12-15) On September 3, 2022, the same day
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                                                      14   that Defendant Dynodot placed the domain up for auction, Defendant Manifold Finance,
                                                      15   Inc. purchased the domain and publicized the transaction. (Id.)
                                                      16          Defendants’ unfair competitive practices have frustrated Plaintiffs’ attempts to
                                                      17   participate in the commercial market, have caused Plaintiffs substantial reputational
                                                      18   damage, have deprived Plaintiffs of their property, and have caused substantial damage.
                                                      19   Unless immediately enjoined, Defendants will continue to fraudulently interfere with the
                                                      20   terms and spirit of the Agreement.
                                                      21
                                                           II.    TNL AND ITS USERS STAND TO SUFFER IRREPARABLE HARM IF
                                                      22          THE DOMAIN IS ALLOWED TO EXPIRE OR ITS OPERATION
                                                      23          INTERRUPTED.

                                                      24          In the absence of a TRO or injunction, TNL and ENS domain users stand to suffer

                                                      25   substantial, immediate, and irreparable harm. Without access or rights to the eth[.]link

                                                      26   domain name, users who have purchased over 2 million ENS domain names will be

                                                      27   deprived of its use. (Id. ¶ 16) Users that prop up websites with the domain will lose a

                                                      28   source of income when the website is lost. (Id. ¶ 18) And users that transact in

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                                                       1   cryptocurrency will lose access to ongoing transactions which are not recoverable. (Id. ¶
                                                       2   19)
                                                       3          This disruption in service would immediately and irreparably affect the ability
                                                       4   users to securely use the eth[.]link domain for commerce. (Id.) By allowing the domain
                                                       5   name to expire, or even by stripping TNL’s ownership interest and suddenly transferring
                                                       6   it to third parties, Defendants would immediately and irreparably harm TNL “reputation
                                                       7   and standing with customers and prospective customers.” Zoom Video Comms., Inc. v.
                                                       8   RingCentral, Inc., 2021 WL 1176700, at *4 (N.D. Cal. Mar. 29, 2021); (Whittaker Decl.
                                                       9   ¶ 18). This loss of thousands of customers, loss of goodwill, and harm to TNL’s
                                                      10   reputation across the industry would be sufficiently “difficult to valuate” to constitute
                                                      11   irreparable harm. Rent-A-Ctr., Inc. v. Canyon Television & Appliance Rental, Inc., 944
                                                      12   F.2d 597, 603 (9th Cir. 1991) (Whittaker Decl. ¶¶ 20, 22-23). As a result, “[e]vidence of
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                                                      13   threatened loss of prospective customers or goodwill certainly supports a finding of the
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                                                      14   possibility of irreparable harm.” Stuhlbarg Int'l Sales Co., Inc. v. John D. Brush & Co.,
                                                      15   240 F.3d 832, 841 (9th Cir. 2001).
                                                      16          Further, sudden expiration of the domain would also potentially open the door to
                                                      17   a malicious or hostile actor filling the void, which would place at risk the sensitive
                                                      18   personal financial data of potentially millions of eth[.]link’s accounts. (Whittaker Decl.
                                                      19   ¶ 19) TNL and its representatives have made efforts to notify GoDaddy of the imminent
                                                      20   harm and loss that will result if the service is allowed to expire, yet to date GoDaddy has
                                                      21   refused to even respond to repeated messages. (Urbelis Decl. ¶¶ 2-7)
                                                      22
                                                           III.   THE BALANCE OF EQUITIES AND THE PUBLIC INTEREST WEIGH
                                                      23
                                                                  HEAVILY IN FAVOR OF A TEMPORARY RESTRAINING ORDER.
                                                      24          The balance of equities and the public interest heavily favor Plaintiffs here. Winter
                                                      25   v. Nat. Res. Def. Council, 555 U.S. 7, 20 (2008). The temporary restraining order is
                                                      26   limited in scope. It does nothing more than preserve the status quo and ensure that the
                                                      27   Defendants do not take steps contrary to the Agreement or TNL’s ownership interests in
                                                      28
                                                                                                        10
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                                                       1   the domain. Indeed, courts have found that the public “has a strong interest in holding
                                                       2   private parties to their agreements.” See Epic Games v. Apple Inc., 2020 WL 5073937, at
                                                       3   *4 (N.D. Cal. Aug. 24, 2020). Further, Defendants will not face any legitimate harm due
                                                       4   to the requested relief, which seeks only to prevent Defendants from unilaterally and
                                                       5   improperly interfering with TNL’s existing rights and interests in the eth[.]link domain.
                                                       6   Moreover, a TRO or injunction would prevent potentially significant issues that could
                                                       7   arise if the domain name were opened up to bad actors seeking to capitalize on the transfer
                                                       8   of sensitive personal financial data of millions of cryptocurrency accounts.
                                                       9          Absent an injunction from this Court, TNL might forever lose its control and
                                                      10   ownership interest in the eth[.]link domain. (Whittaker Decl. ¶ 16) In short, preserving
                                                      11   the status quo during the pendency of this action is the most equitable outcome.
                                                      12                                        CONCLUSION
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                                                      13          Plaintiffs are at risk of immediate and irreparable harm from Defendants. The
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                                                      14   Court should grant Plaintiffs’ motions for a temporary restraining order and order to show
                                                      15   cause. The Court should grant these requests ex parte and without advance notice to
                                                      16   Defendants to preserve the status quo and permit the Court to grant effective relief on the
                                                      17   merits of Plaintiffs’ claims.
                                                      18
                                                                  For the foregoing reasons, Plaintiffs respectfully request that the Court issue:
                                                      19
                                                                  (1) a temporary restraining order enjoining Defendants GoDaddy from directly or
                                                      20
                                                           indirectly causing the expiration of the Domain or allowing the Domain to revert to the
                                                      21
                                                           registry to be generally available for purchase by third parties;
                                                      22
                                                                  (2) a temporary restraining order enjoining Defendants GoDaddy from preventing
                                                      23
                                                           or frustrating Plaintiffs’ right, pursuant to the Domain Name Registration Agreement
                                                      24
                                                           with GoDaddy, to renew the registration of the Domain;
                                                      25
                                                                  (3) a temporary restraining order enjoining all Defendants from selling or
                                                      26
                                                           otherwise transferring ownership interest in the Domain to any party, or otherwise
                                                      27
                                                           purchasing or accepting any ownership interest in the Domain; and
                                                      28
                                                                                                         11
                                                             Case 2:22-cv-01494-JJT Document 2 Filed 09/05/22 Page 12 of 12



                                                       1         (4) an order to show cause why a preliminary injunction should not issue, pursuant
                                                       2   to Fed. R. Civ. P. 65, enjoining Defendants from directly or indirectly committing the
                                                       3   above-described acts during the pendency of this action.
                                                       4   Dated: September 5, 2022                 Respectfully submitted,
                                                       5
                                                                                                    /s/ Justin D. Kingsolver
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                                                      18                                            and Virgil Griffith
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